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United States Courts
Southern District of Texas

UNITED STATES DISTRICT COURT —sFiLed
SOUTHERN DISTRICT OF TEXAS — ap (5 20%

HOUSTON DIVISION
David J. Bradley, Clerk of Gouri
UNITED STATES OF AMERICA §
§
v. § CRIMINALN 9 CR .
§
GONZALO JOSE JORGE § | 4 8
MORALES-DIVO § UNDER SEAL
§
DEFENDANT §
INFORMATION ne
Seared
THE UNITED STATES CHARGES: Public and unofiicia! sit secess
prohibited by court order.
Introduction

At all times material to this information:

1. Petroleos de Venezuela S.A. (““PDVSA”) was the Venezuelan state-
owned and state-controlled oil company. PDVSA and its subsidiaries were
responsible for the exploration, production, refining, transportation, and trade in
energy resources in Venezuela and provided funding for other operations of the
Venezuelan government. Bariven S.A. (“Bariven”) was the PDVSA procurement
subsidiary responsible for equipment purchases. PDVSA and its wholly owned
subsidiaries, including Bariven, were “instrumentalities” of the Venezuelan
government as that term is used in the Foreign Corrupt Practices Act (““FCPA”), Title

15, United States Code, Section 78dd-2(h)(2)(A). PDVSA officers and employees
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were “foreign officials” as that term is used in the FCPA, Title 15, United States
Code, Section 78dd-2(h)(2)(A).

2. At all relevant times, Defendant GONZALO JOSE JORGE
MORALES DIVO (“MORALES”) was a Venezuelan citizen and a resident of
Florida. MORALES invested in, and was a business partner in, a number of closely
held companies, including several U.S. companies, used to secure contracts with
PDVSA. MORALES was thus a “domestic concern” and an officer, director,
employee, agent, and shareholder of a “domestic concern” as those terms are used
in the FCPA, Title 15, United States Code, Section 78dd-2(h)(1).

3. At all relevant times, Jose Manuel GONZALEZ  Testino
(“GONZALEZ”), who has been charged separately, was a U.S. citizen and resident
of Florida. GONZALEZ controlled, together with MORALES and others, a number
of closely held companies, including several U.S. companies, which MORALES
and GONZALEZ used to secure contracts with PDVSA (“GONZALEZ’s
companies”). GONZALEZ was thus a “domestic concern” and an officer, director,
employee, agent, and shareholder of a “domestic concern” as those terms are used
in the FCPA, Title 15, United States Code, Section 78dd-2(h)(1).

4. Luis Carlos DE LEON Perez (“DE LEON”), who has been charged
separately, was a dual citizen of the United States and Venezuela. DE LEON was

thus a “domestic concern” as that term is used in the FCPA, Title 15, United States
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Code, Section 78dd-2(h)(1). DE LEON had previously been employed by
instrumentalities of the Venezuelan government, but was no longer so employed
during the relevant period. During the relevant time period, DE LEON served as a
representative of a group of individuals who controlled Bariven and were known as
“the group.”

5. Cesar David RINCON Godoy (“RINCON”), who has been charged
separately, was a Venezuelan national who, from at least 2011 until June 2013, was
employed by PDVSA. RINCON held a number of positions at PDVSA and Bariven,
ultimately being named as a high-level Bariven executive in or about January 2012.
In his capacity as a Bariven executive, among other duties, RINCON had the
responsibility for assembling and revising Bariven’s weekly payment proposals,
which set forth the debt Bariven owed to its numerous vendors and proposed
payments of various amounts to selected vendors. RINCON was a “foreign official”
as that term is used in the FCPA, Title 15, United States Code, Section 7&dd-
2(h)(2)(A).

6. Alejandro ISTURIZ Chiesa (“ISTURIZ”), who has been charged
separately, was a Venezuelan national. During the relevant period, ISTURIZ was
employed by Bariven as an assistant to the president of Bariven. ISTURIZ was a
“foreign official” as that term is used in the FCPA, Title 15, United States Code,

Section 78dd-2(h)(2)(A).
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7. “Company A” was a company controlled by GONZALEZ and in which
MORALES was GONZALEZ’s business partner. Company A existed as a
corporation organized under the laws of Florida and Panama, and was used by
MORALES and GONZALEZ to secure contracts with PDVSA and its subsidiaries.

8. “Company B” was a company controlled by GONZALEZ and in which
MORALES was GONZALEZ’s business partner. Company B existed as a
corporation organized under the laws of Florida and Panama, and was used by
MORALES and GONZALEZ to secure contracts with PDVSA and its subsidiaries.

9, “Company C” was a company controlled by GONZALEZ and in which
MORALES was GONZALEZ’s business partner. Company C existed as a
corporation organized under the laws of Florida and Panama, and was used by
MORALES and GONZALEZ to secure contracts with PDVSA and its subsidiaries.

10. “Bank Account 1” was a bank account located in the Southern District
of Texas, into which Company A and Company B made bribe payments during the
course of the conspiracy.

11. “Bank Account 2” was a bank account located in the Southern District
of Florida, into which Company A, Company B, and Company C made bribe

payments during the course of the conspiracy.
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COUNT ONE
(18 U.S.C. § 371 — Conspiracy)

12. Beginning in at least 2012 and continuing through at least 2014, the
defendant,
GONZALO JOSE JORGE MORALES DIVO,
did willfully, that is, with the intent to further the objects of the conspiracy, and
knowingly conspire, confederate, and agree with GONZALEZ, DE LEON, and other

persons known and unknown, to commit offenses against the United States, that is:

a. to willfully make use of the mails and means and instrumentalities of
interstate commerce corruptly in furtherance of an offer, payment, promise
to pay, and authorization of the payment of any money, offer, gift, promise
to give, and authorization of the giving of anything of value to a foreign
official and to a person, while knowing that all and a portion of such money
and thing of value would be and had been offered, given, and promised to
a foreign official, for purposes of: (i) influencing acts and decisions of
such foreign official in his official capacity; (ii) inducing such foreign
official to do and omit to do acts in violation of the lawful duty of such
official; (iii) securing an improper advantage; and (iv) inducing such
foreign official to use his influence with a foreign government and

agencies and instrumentalities thereof to affect and influence acts and
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decisions of such government and agencies and instrumentalities, in order
to assist MORALES, GONZALEZ, and their U.S. companies in obtaining
and retaining business for and with, and directing business to,
MORALES, GONZALEZ, their companies, and others, in violation of the
Foreign Corrupt Practices Act, Title 15, United States Code, Section 78dd-
2(a); and

b. while in the territory of the United States, willfully and corruptly to make
use of the mails and means and instrumentalities of interstate commerce
and to do any other act in furtherance of an offer, payment, promise to pay,
and authorization of the payment of any money, offer, gift, promise to give,
and authorization of the giving of anything of value to a foreign official
and to a person, while knowing that all and a portion of such money and
thing of value would be and had been offered, given, and promised to a
foreign official, for purposes of: (i) influencing acts and decisions of such
foreign official in bis or her official capacity; (ii) inducing such foreign
official to do and omit to do acts in violation of the lawful duty of such
official; (iii) securing an improper advantage; and (iv) inducing such
foreign official to use his or her influence with a foreign government and
agencies and instrumentalities thereof to affect and influence acts and

decisions of such government and agencies and instrumentalities, in order
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to assist MORALES’ and GONZALEZ’s non-U.S. companies in
obtaining and retaining business for and with, and directing business to,
MORALES, GONZALEZ, their companies, and others, in violation of
Title 15, United States Code, Section 78dd-3(a).

Purpose of the Conspiracy

13. The purpose of the conspiracy was for MORALES and GONZALEZ
to orchestrate corrupt bribe payments to PDVSA officials, including, but not limited
to, RINCON and ISTURIZ, and to thereby enrich MORALES and GONZALEZ by
obtaining and retaining lucrative energy contracts with PDVSA through corrupt and
fraudulent means, including by paying bribes to PDVSA officials.

Manner and Means of the Conspiracy

14. The manner and means by which MORALES and his co-conspirators
sought to accomplish the purpose of the conspiracy included, among other things,
the following, while in the Southern District of Texas and elsewhere:

15. MORALES and GONZALEZ communicated in person and over the
phone about working together to supply equipment to PDVSA through
GONZALEZ’s companies, including Company A, Company B, and Company C.

16. MORALES and GONZALES communicated in person and over the

phone about how MORALES would obtain financing and provide the up-front
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capital to purchase the equipment required to fulfill the PDVSA contracts won by
GONZALEZ’s companies.

17. MORALES and GONZALEZ communicated in person and over the
phone about how they would obtain and retain contracts with PDVSA, and ensure
payment on their PDVSA contracts, by paying bribes to PDVSA officials.

18. MORALES and GONZALEZ agreed to pay bribes to PDVSA officials
through the use of interstate and foreign wires in order to influence acts and decisions
of certain PDVSA officials in their official capacities and to induce the PDVSA
officials to do and omit to do certain acts, including, but not limited to:

a. assisting GONZALEZ’s companies, including Company A,
Company B, and Company C, in winning PDVSA contracts;

b. providing MORALES and GONZALEZ with inside information
concerning the PDVSA bidding process;

c. awarding GONZALEZ’s companies, including Company A,
Company B, and Company C, contracts with PDVSA as contracts
to be paid in United States dollars instead of Venezuelan bolivars;

d. assisting GONZALEZ’s companies, including Company A,
Company B, and Company C, in receiving payment for previously
awarded PDVSA contracts, including by requesting payment

priority for projects involving GONZALEZ’s companies.
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19. MORALES and GONZALEZ communicated in person, via e-mail,
and over the phone about paying, bribes to “the group” who controlled PDVSA’s
procurement subsidiary, Bariven, and met with members of “the group” to discuss
bribe payments.

20. GONZALEZ caused bribe payments to be wired from the bank
accounts of companies he controlled, and in which MORALES invested, to the bank
accounts of PDVSA officials, their relatives, or other individuals or entities
designated by the PDVSA officials who received the bribes.

21. GONZALEZ wired multiple payments, through companies under his
control, to a U.S. account in the name of a company owned by MORALES. These
wire transfers represented partial repayment to MORALES for the up-front
financing he provided, and totaled more than $2.5 million between on or about
February 29, 2012, and at least on or about April 23, 2014.

Overt Acts

22. ‘In furtherance of the conspiracy and to achieve the objects thereof, at
least one of the co-conspirators committed or caused to be committed, in the
Southern District of Texas and elsewhere, at least one of the following overt acts,
among others:

23. Inor about 2012, MORALES met with DE LEON and discussed bribe

payments.
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24. In or about 2012, MORALES met ISTURIZ and discussed the bribe
payments owed to “the group.” At this meeting ISTURIZ provided MORALES
with payment instructions regarding how to make the bribe payments, and
MORALES provided this account information to GONZALEZ.

25. Companies controlled by GONZALEZ, and in which MORALES was
an investor, wired bribe payments to Bank Account 1 and Bank Account 2 for

RINCON’s benefit, including the following payments on the following dates:

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~ i “Beneficiary Bank | Paes
Overt Act Date Account | Payor Amount
25(a) 11/27/2012 | Bank Account 1 Company A $50,000.00
25(b) 1/15/2013 Bank Account 1 Company B $50,000.00
25(c) 3/5/2013 Bank Account 2 Company A $50,000.00
25(d) 3/7/2013 Bank Account 2 Company A $50,000.00
25(e) 3/21/2013 Bank Account 2 Company A $50,000.00
25(f) 4/8/2013 Bank Account 2 Company A $75,000.00
25(g) 4/17/2013 Bank Account 2 Company A $75,000.00
25(h) 4/24/2013 | Bank Account2 | CompanyB | $50,000.00
25(1) 5/2/2013 Bank Account 2 Company C $29,000.00
25(j) 5/14/2013 Bank Account 2 Company C $100,000.00
25(k) 6/3/2013 Bank Account2 | Company A | $50,000.00
26. On or about March 7, 2014, GONZALEZ caused $35,000.00 to be

wired from an account in Company B’s name and under GONZALEZ’s control to a

U.S. account in the name of a company owned by MORALES.

All in violation of Title 18, United States Code, Section 371.

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NOTICE OF CRIMINAL FORFEITURE
(28 U.S.C. § 2461(c); 18 U.S.C. § 981(a)(1(C))

27. Pursuant to Title 28, United States Code, Section 2461(c) and Title 18,
United States Code, Section 981(a)(1)(C), the United States gives notice to
GONZALO JOSE JORGE MORALES DIVO that in the event of his conviction
of the offense charged in Count 1 of the Information, the United States intends to
seek forfeiture of all property, real or personal, which constitutes or is derived from
proceeds traceable to such offenses.

Money Judgment and Substitute Assets

28. The United States will seek the imposition of a money judgment against
the defendant. In the event that a condition listed in Title 21, United States Code,
Section 853(p) exists, the United States will seek to forfeit any other property of the

defendant in substitution up to the amount of the money judgment.

RYAN K. PATRICK ROBERT ZINK
UNITED STATES ATTORNEY ACTING CHIEF,
FRAUD SECTION
CRIMINAL DIVISION
DEPARTMENT OF JUSTICE
BY: Ch he BY: 4.
JOHN P. PEARSON SARAH E. EDWARDS
ROBERT S. JOHNSON SONALI D. PATEL
ASSISTANT UNITED STATES TRIAL ATTORNEYS
ATTORNEYS

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